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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN THE MATTER OF THE SEARCH OF:                               2:21-mj-549
                                                     Case No. _______________

 THE CELLULAR TELEPHONE ASSIGNED
 CALL NUMBER 857-370-1113
                                                     Filed Under Seal

   APPLICATION FOR ORDER COMMANDING TMOBILE NOT TO NOTIFY ANY
                PERSON OF THE EXISTENCE OF WARRANT

       The United States requests that the Court order Tmobile (“Tmobile”) not to notify any

person (including the subscribers and customers of the account(s) listed in the warrant of the

existence of the attached warrant for one year.

       Tmobile is a provider of an electronic communication service, as defined in 18 U.S.C.

§ 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2). Pursuant to 18

U.S.C. § 2703, the United States obtained the attached warrant, which requires Tmobile to disclose

certain records and information to the United States. This Court has authority under 18 U.S.C.

§ 2705(b) to issue “an order commanding a provider of electronic communications service or

remote computing service to whom a warrant, subpoena, or court order is directed, for such period

as the court deems appropriate, not to notify any other person of the existence of the warrant,

subpoena, or court order.” Id.

       In this case, such an order would be appropriate because the attached warrant relates to an

ongoing criminal investigation that is neither public nor known to all of the targets of the

investigation, and its disclosure may alert the targets to the ongoing investigation. Accordingly,

there is reason to believe that notification of the existence of the attached warrant will seriously

jeopardize the investigation or unduly delay a trial, including by giving targets an opportunity to

flee or continue flight from prosecution, destroy or tamper with evidence, change patterns of
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behavior, intimidate potential witnesses, or endanger the life or physical safety of an individual.

See 18 U.S.C. § 2705(b). Some of the evidence in this investigation is stored electronically. If

alerted to the existence of the warrant, the subjects under investigation could destroy that evidence,

including information saved to their personal computers.

       WHEREFORE, the United States respectfully requests that the Court grant the attached

Order directing Tmobile not to disclose the existence or content of the attached warrant for one

year, except that Tmobile may disclose the attached warrant to an attorney for Tmobile for the

purpose of receiving legal advice.

       The United States further requests that the Court order that this application and any

resulting order be sealed until further order of the Court. As explained above, these documents

discuss an ongoing criminal investigation that is neither public nor known to all of the targets of

the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation.

       Executed on     8/19/2021        .

                                                      Respectfully submitted,

                                                      VIPAL J. PATEL
                                                      Acting United States Attorney

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